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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS

 OSCAR WINSKI COMPANY, INC.                       )
                                                  )
                 Plaintiff,                       )   Case No. 19-cv-06976
                                                  )
        v.                                        )   The Honorable Sharon Johnson Coleman
                                                  )
 MIDLAND STAMPING AND                             )   Magistrate Judge Young B. Kim
 FABRICATING CORP.,                               )
                                                  )
                 Defendant.                       )
                                                  )


 DEFENDANT MIDLAND STAMPING AND FABRICATING CORP.’S MOTION FOR
           WITHDRAWAL AND SUBSTITUTION OF COUNSEL

       Defendant Midland Stamping and Fabricating Corp. requests, pursuant to Local Rule

83.17, that attorney Todd C. Toral, with the firm Jenner & Block LLP, be permitted to substitute

in as lead attorney and counsel of record for Midland in place of prior counsel of record, Timothy

R. Herman, with the firm Clark Hill PLC. By substitution of attorney Toral, attorney Herman

requests that he be permitted to withdraw from the representation of Midland. In support of this

motion, Midland states as follows:

       1.      Midland wishes to change its counsel in the above-captioned action, by substituting

Todd C. Toral of Jenner & Block LLP as counsel of record for Midland, in place of Timothy R.

Herman of firm Clark Hill PLC, who has filed an appearance on behalf of Midland in this action.

       2.      Attorney Daniel W. Bobier, an attorney at Jenner & Block LLP with attorney Toral,

is admitted to practice in the United States District Court for the Northern District of Illinois and

has filed an appearance for Midland.

       3.      Attorney Toral has filed a Motion for Leave to Appear Pro Hac Vice that is pending.

       4.      Midland does not submit this Motion for the purpose of causing any delay.
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       WHEREFORE, the undersigned counsel respectfully request that the Court enter an order

granting Midland’s motion to substitute attorney Todd C. Toral of Jenner & Block LLP as lead

attorney and counsel of record in place of attorney Timothy R. Herman of firm Clark Hill PLC,

and permitting Timothy R. Herman to withdraw.



Dated: May 8, 2020

Respectfully Submitted,

/s/ Timothy R. Herman (with permission)         /s/ Todd C. Toral

   Timothy R. Herman                              Todd C. Toral (Pro Hac Vice Pending)
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                                                 Counsel for Midland        Stamping     and
                                                 Fabricating Corp.




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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 8, 2020, I caused the foregoing to be electronically filed with
the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
to all CM/ECF participants.

Dated: May 8, 2020]

                                                     /s/ Todd C. Toral

                                                      Todd C. Toral
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